UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WISCONSIN

Twain E. K binseu ,

 

05. «SEP 29) ANT 331

 

 

 

(Full Name of Plaintiff or Plaintiffs}
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(Supplied by Clerk)

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{Full Name of Defendant or Defendants)

 

 

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COMPLAINT
|. PREVIOUS LAWSUITS

A. Have you begun other lawsuits in state or federal court relating to the same occurrence involved

in this action?
O YES eNO
B. Have you begun other lawsuits in state or federal court?
O YES NO

C. If your answer to A or B was YES, provide the requested information below. If there is more
than one lawsuit, describe each additional one on a separate sheet of paper, using the same
outiine.

1. Parties to the previous lawsuit

 

Plaintiff(s)

 

 

Defendant(s)

 

 

2. Court in which lawsuit brought (if federal court, name district: if state court, name the
county)

 

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STATEMENT OF CLAIM CONTINUED

 

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END STATEMENT OF CLAIM

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iV. RELIEF YOU REQUEST
State exactly what you want the court to do for you. Make no legal arguments. Cite no cases or
statutes. DO NOT USE THIS SPACE TO STATE THE FACTS OF YOUR CLAIM. USE IT ONLY TO

REQUEST REMEDIES FOR THE INJURIES YOU COMPLAIN ABOUT. Use only the space provided.
The court strongly disapproves of requesting remedies outside the space pr

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Q Recommendation for new Lo sition

 

 

 

| declare under penalty of perjury that the foregoing is true and correct.

Complaint signed this =? 7 _ day of Se Pp: 2006.

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(Signature of Plaintiff(s

 

 

 

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EEOC Form 167 (3/98) U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

 

DISMISSAL AND NOTICE OF RIGHTS

 

To: Twain Rebinson From: Milwaukee Area Office - 443
1525 24th Street 310 West Wisconsin Ave
Kenosha, WI 53140 Suite 800

Milwaukee, Wi 53203

[ ] On behalf of person(s) aggrieves whose identity is
CONFIDENTIAL (29 CFR § 1601.7(a))
EEOC Charge Na. EEOC Representative Telephone No,

Monica Loser,
260-2005-06408 Federal Investigator 414-297-1111

THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC,

 

Your allegations did not involve a disability as defined by the Americans with Disabilities Act.
The Respondent emptoys jess than the required number of employees or is not otherwise covered by the statutes,

Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alfeged discrimination te file your
charge.

Having been given 30 days in which to respond, you failed to provide information, failed to appear or be available for
interviews/conferences, or otherwise failed to cooperate to the extent that it was not possible to resolve your charge.

While reasonable efforts were made to locate you, we were not able to do so.
You were given 30 days to accept « reasonable settlement offer that affords full relief for the harm you alleged.
The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the information obtained

establishes violations of the statutes. This does not certify that the respondent is in compliance with the statutes. No finding is made as
to any other issues that might be construed as having been raised by this charge.

KOO O O00 Oo

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

UU

Other (briefly state}

- NOTICE OF SUIT RIGHTS -

(See the additional information attached to this form.)

Title Vil, the Americans with Disabilities Act, and/or the Age Discrimination in Employment Act: This will be the only
notice of dismissal and of your right to sue that we will send you. You may file a lawsuit against the respondent(s) under
federal jaw based on this charge in federal or state court. Your lawsuit must be filed WITHIN 90 DAYS of your receipt
of this Notice; or your right to sue based on this charge will be lost. (The time limit for filing suit based on a state claim may
be different}

Equal Pay Act (EPA): EPA suits must be filed in federat or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible.

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Enclosure(s) .
John P. Rowe, sV\X (Date Mailed)

Director

 

cc: Office of the City Attorney
Attn: Matthew Knight
Municipal Building
625-52nd Street
Kenosha, WI 53140

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